Case 24-50792-hlb Doc 443 Entered 12/10/24 08:31:02 Page 1 of 23
NVB 3001 (Effective 1/21)

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA

Name of Debtor Case Number

Meta Waremters 24-SH49C

1 = Name and address of holder of the Equity Interest (the person or entity
holding an Equity Interest in the Debtor Referred to hereinafter as the O Check box 1f you are aware that anyone
Interest holder ) else has filed a proof of interest relating to

(M Ay ren) V ns M Ave ay epatiuleee copy of statement RECEIVED
| 027 EKST 4 ALS SHA @ Check box 1f you have never received AND FILED
Ohm, CL SUPOY the Debtersin tus case DEC -9 2024

0 Check box :f this address differs from

Telephone Number the address on the envelope sent to you ae BANKRUPTCY Cou

32) 44g -2940 the Debtor ARY A. SCHOTT, CLE

: NOTE! Tins Forni SHOUED » NOR be u z used tomake #7 avclar L againsy thie Debtorfor ‘money owed: A' separate Pro! of Clam‘ e
form should be, ised: foF-that Burpose } ais forni should only’ be'used t to asserbadl Equity tn Interest m ‘the Débtor ‘AmEquity
Interest Is any right arising from any Capitals Stock and‘any equity security 1 m any ot thé ib Debtor Anequityiseduni 1 1s detined
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"Aealin "Yoo gh cer NEB SS ae See ipelfieaet GAlekg SEAS ssn A ioe aaa Et
Account or other number by which Interest holder identifies Debtor Check hi eis if this claim

O replaces a previously filed Proof of Interest dated
SL ~ 0 \ O02 O amends a previously filed Proof of Interestdated

2 Name and Address of any person or entity that 1s the record holder for 3 Date Equity Interest was acquired
the Equity Interest asserted in this Proof of Interest

CuO Sew mG /T9 6 Cpa oftAdee = | ~|-22. /72~Y-2Y
Telephone Number Pc Bok 2334
a ee - YS ~ Yous OM AA NE EBIOZ

4 Total amount of member interest {2,000 RAGhr RCORE 5 Certificate number(s) SE WTA cere) Nocvta dives
PUT

6 = Type of Equity Interest
Please indicate the type of Equity Interest you hold
I Check this box 1f your Equity Interest 1s based on an actual member mterest held in the Debtor
CO Check this box sf your Equity Interest 1s based on anything else and describe that interest
Description WVtG7 0

7 Supporting Documents Attach copies of supporting documents such as stock certificates option agreements warrants etc
DO NOT SEND ORIGINAL DOCUMENTS If the documents are not available, explain If the documents are \ olummous, attach a summary

8 Date Stamped Copy To receive an acknowledgement of the filmg of your Proof of Interest, enclose a stamped, self addressed 2nvelope and copy of this Proof of
Interest

9 Signature
Check the appropriate box

QJ I am the creditor OI am the creditor s authorized agent O Tam the trustee or the debtor, CJ I am a guarantor, surety endorser, or othercodebtor
(Attach copy of power of attorney, tfany ) or their authorized agent (See Bankruptcy Rule 3005 )
(See Bankruptcy Rule 3004 )

I declare under penalty of perjury that the information provided tn this claim 1s true and correct to the best of my,

Print Name MM Dunit sy Conzemame4
Title 7 :

Company __ Address and telephone number (if different from notice / Z 7} —?e

address above) ASigyfature) x“ (Za (Date)

wledge information and reasonable belief

Télephone nufnber YI -YIRT S uo email

Penalty for presenting fraudulent claim 1s a fine of up to $500,000 or unprisonment for up to 5 years, or both 18 US C §§ 152 AND 3571

““prmt Form * .| ‘ps SE “Save Form’ | “Clear Form {

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BROKER ACCOUNT NUMBER MONEY LOST NUMBER OF SHARES

Charles Scwab 52680102 = $4,496 12000
ea S Case 24-50792-hlb Doc 443 Entered 12/10/24 08:31:02 Page 3 of 23
Ke

2ealized Gain / Loss Updated 0219 54PMEL ime & OQ ww «€

View Positiol
PUR Teo) Cleve wre Cd od

For today’s transactions, real time realized gain/loss information may be delayed. ( View Historical GainsKeeper Transactions® — Cost Basis Calculator '

@ Historical gains and !osses for your transitioned TD Ameritrade account are not shown on this page. Please visit GainsKeeper® to view historical transactions for your account.

Date range From mmidd/yyyy To mm/dd/yyyy Symbol (Optional)

Custom Date Range =v | | 01/01/2022 | | 12/05/2024 S| [ © mmat @ | Search |

Gain/Loss Summary Transaction Analyzer

Reporting Period Gain/Loss Totals @

01/01/2022 to 12/05/2024 Long Term $4,112.36 (-70.53%) Total Gains $0.00
Short Term -$383.96 (-38.49%) Total Losses -$4,496.32

Total Proceeds $1,394.58 mei $4,496.32 (-65.85% Net Loss $4,496.32

Total Cost Basis $6,828.52 ama Be ee) ” ts

Disallowed Loss _-$937.62

Realized Gain/Loss Details

Chart based on 1 record.

Show Chart @©

Rwakccd Gain/Loss %

Cost Basis (CB) Total Long Term Short Term
Pronreds Taxeietirr CR =f SLTS pelior STS

Symbol

Description Closed Date Quannt, Closing Price
Case 24-50792-hlb Doc 443 Entered 12/10/24 08:31:02 Page 4 of 23

Degcritete Hoeet Date uaantity 7 Piae Proceed s Tratiation CB Traut 3 Total $ Trad medion: nsts
@ MMAT 10/20/2023 9,000 $0.15 $1,394.58 $6,828.52 -$4,496 32 -$4,112.36 ~$383.96
META MATLS INC $6,176.57 -$4.7817.99 $4,398.03 Disallowed Loss: $937.62
Account Total $1,394.58 $6,828.52 -$4,496.32 -$4,112 36 -$383.96

@ Wash Sale activity has adjusted this cost. For additional information. click here,

Disclosures & Footnotes

The Realized Gain-Loss Analysis should net be considered a substitute for your trade confirmations, account statements or tax forms, Supplemental data is snown for informational purposes anly, and should not be considered individualized recommendations or personalized investment advice.
Values for fixed income securities have been adjusted for amortization/accretion; with the exception of variable rate and mortgage-backed securities or for accounts with this preference turned off.

Total Cash represents income and expenses as they occur: it may be inconsistent with values shown elsewhere on Schwab.com and on your monthly account statement.

The Reatized Gain/Loss page provides summary information of closed transactions. Not alj closed transactions appear an this page.

Please view the Cost Basis Disclosure Statement] for additional information on cost basis methods choices and how Schwab reports adjusted cost basis information to the IRS.

Please note that gains and losses realized in retirement accounts are not recognized for tax purposes. Rather. income may be recognized when you receive a cash distribution fram these accounts. Please contact your tax advisor for further information

The total Realized Gain/Loss for this account includes values for Short Positions heid in the account. For more information on sumimary totals when there are Short Positions, please see the Help Section,

423-3BXK, 0623-37YU, 1123-3XUW}

oday's Date: 02:14 PM ET, 12/05/2024 Qun “your Lomorrour—

heck the background of Charles Schwab or one of its investment professionals on FINRA‘S BrokerCheck.

Investment and Insurance Products Are: Not FDIC Insured « Not Insured by Any Federal Government Agency « Not a Deposit or Other Obiigation of, or Guaranteed by, the Bank or any of its Affiliates « Subject to Investment Risks, Including Possible Loss of Principal Amount Invested

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Date w Action Symbol / Description Quantity Price Fees & Comm Amount

10/17/2022 Sell MMAT 1,000 $0.9581
TDA TRAN - Sold 1000 (MMAT)
@0.9581

$0.15 $957.95

10/17/2022 Buy MMAT 46  $0.9592 -$44.12
TDA TRAN - Bought 46 (MMAT)
@0.9592

10/17/2022 Buy MMAT 954 $0.9593 -$915.17
TDA TRAN - Bought ...954 (MMAT)
@0.9593

10/12/2022 Buy MMAT 990 $1.05 -$1,039.50
TDA TRAN - Bought ...990 (MMAT)
@1.0500

10/12/2022 Buy MMAT 2,000  $1.0657 -$2,131.40
TDA TRAN - Bought 2000 (MMAT)
@1.0657

05/17/2022 Buy MMAT 1,050  $1.6099 -$1,690.40
TDA TRAN - Bought 1050 (MMAT)
@1.6099

Page Total: -$6,792.82

Intra-day transactions are subject to change.

Brokerage Account Balances are from the previous market close, but also may include new activity that will be posted to your account at after market close.

Balances are subject to change.

Bank sweep information can be found on your Statements. Current Balance bank sweep information can be found on the Balances page.
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, Transaction History for Individual 102

Transactions found from 12/05/2020 to 12/05/2024

Date v Action Symbol / Description Quantity Price Fees & Comm Amount
01/29/2024 Reverse MMAT 126
Split META MATLS INC
12/01/2023 Buy MMAT 12,000 $0 102 -$1,224 00
META MATLS INC
10/20/2023 Sell MMAT 9,000 $0 1551 $1 32 $1,394 58
META MATLS INC
10/02/2023 Buy MMAT 4,400 $0 2248 -$989 12
META MATLS INC
05/30/2023 Journaled MMAT -5,200
Shares TDA TRAN - TRANSFER OF
SECURITY OR OPTION OUT (MMAT)
05/30/2023 Internal MMAT 5,200
Transfer META MATLS INC
10/21/2022 Buy MMAT 160 $0 8959 -$143 34
TDA TRAN - Bought 160 (MMAT)
@0 8959
10/17/2022 Buy MMAT 1,000 $0 9683 -$968 30

TDA TRAN - Bought 1000 (MMAT)
@0 9683
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(1123-3USY, 0924-CLCV)

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Brokerage Products Not FDIC Insured ° No Bank Guarantee ° May Lose Value Account 102
Today's Date 02 17 PM ET, 12/05/2024

The Charles Schwab Corporation provides a full range of brokerage, banking and financial advisory services

through its operating subsidiaries Its broker-dealer subsidiary, Charles Schwab & Co Inc (Member SIPC),

and tts affilates offer Investment services and products Its banking subsidiary, Charles Schwab Bank SSB

(member FDIC and an Equa! Housing Lender), provides deposit and lending services and products This site Is

designed for U S residents Non-US residents arc subjcct to country-specific restrictions Learn more about

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be monitored
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Schwab One® Account of Account Number TAX YEAR 2023
MAUREEN STAPLETON KERSMARKI 5268-0102 FORM 1099 COMPOSITE

& YEAR-END SUMMARY

Date Prepared January 26 2024

Recipient's Name and Address

01/26 00000 YEIK1817 1
MAUREEN STAPLETON KERSMARKI
102 E YALE ST

ORLANDO FL 32804 ee Knees Ff, I / / ¢

items for Attention important Official IRS Form(s) 1099 Enclosed
e Visit schwab com/1099dashboard to access additional information that may be The report in this package contains your income tax return documents and
helpful when filing your tax return year-end summary Please retain this package for tax preparation purposes

For tax advice, please consult with a qualified tax advisor CPA or financial
planner

To contact Schwab

If you have any questions or need additional information about your Form(s)
1099 or your year-end summary please call 1-800-435-4000, 24 hours a day
7 days a week Were always here for you

To contact the IRS

Tax questions for individuals 1-800-829-1040

Tax questions for businesses 1-800-829-4933

To order tax forms or publications 1-800-829-3676

To pay taxes by credit card 1-888-272-9829

For additional information and to print forms and publications visit www Irs gov

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Schwab One® Account of Account Number TAX YEAR 2023
MAUREEN STAPLETON KERSMARKI 5268-0102 FORM 1099 COMPOSITE

& YEAR-END SUMMARY

Date Prepared January 26, 2024

Your Form 1099 Composite may include the following internal Revenue Service (IRS) forms 1099-DIV, 1099 INT 1099-MISC, 1099 B and 1099-OID You ll only receive the form(s) that
apply to your particular financial situation and please keep for your records Please note that information mn the Year-End Summary ts not provided to the IRS It is provided to you as
additional tax reporting information you may need to complete your tax return

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FORM 1099 COMPOSITE 3
Form 1099-INT 3
Form 1099-B 5
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Interest & Dividends 9
Detail Information of Interest Income 9
Realized Gain or (Loss) 9
Short-Term Realized Gain or (Loss) 9
Long-Term Realized Gain or (Loss) 10
Realized Gain or (Loss) Summary 12
Notes for Your Realized Gain or (Loss) 13
Cost Basis Disclosure 14
Terms and Conditions 16

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Schwab One® Account of Account Number TAX YEAR 2023
WIAUREEN STAPLETON KERSMARKI 5268-0102 FORM 1099 COMPOSITE

Date Prepared January 26 2024

Recipient's Name and Address Payer'’s Name and Address
MAUREEN STAPLETON KERSMARKI CHARLES SCHWAB & CO_ INC

102 E YALE ST 3000 SCHWAB WAY

ORLANDO FL 32804 WESTLAKE TX 76262

Taxpayer ID Number ***-**-4430 Account Number 5268-0102 Telephone Number (800) 435-4000

Federal ID Number XX-XXXXXXX

Interest Income — 2023 Form 1099-INT
Department of the Treasury-Internal Revenue Service Copy B for Recipient (OMB No 1545-0112)
Box Description Tota!
1 Interest Income $ 0 96
3 Interest on US Savings Bonds and Treasury Obligations $ 0 00
4 Federal income Tax Withheld $ 0 00

5 Investment Expenses $ 000
6 Foreign Tax Paid $ 000
7 Foreign Country or US Possession

8 Tax-Exempt Interest 0 00

$
9 Specified Private Activity Bond Interest $ 0 00
10 Market Discount $ 000
$
$
3

11 Bond Premium 0 00
12 Bond Premium on Treasury Obligations 0 00
13 Bond Premium on Tax-Exempt Bond 0 00
14 Tax-Exempt and Tax Credit Bond CUSIP No

15 State
16 State Identification No
17 State Tax Withheld $ 000

FATCA Filing Requirement [__]
Amount tn Box 9 Specified Private Activity Bond Interest subject to Alternative Minimum Tax ts already included in Box 8 Tax-Exempt Interest Both market discount and bond premium reported for
covered taxable and tax-exempt bonds Market discount is only reported if you submitted a written election to include in income currently

This 1s important tax information and 1s being furnished to the Internal Revenue Service If you are required to file a return a negligence penalty or other sanction may be imposed
on you if this income ts taxabie and the IRS determines that it has not been reported

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Schwab One® Account of
MAUREEN STAPLETON KERSMARKI

INSTRUCTIONS FOR RECIPIENTS OF FORM 1089
1099-INT Interest Income

Account Number

5268-0102

TAX YEAR 2023
FORM 1099 COMPOSITE

The information provided may be different for covered and noncovered securities For a description of covered
secunties see the Instructions for Form 8949 For a taxable covered secunty acquired at a premium unless you
notified the payer in writing in accordance with Regulations section 16045 1(n)(5) that you did not want to
amortize the premium under section 171 or for a tax exempt covered secunty acquired at a premium your payer
generally must report either (1) a net amount of interest that reflects the offset of the amount of interest paid to
you by the amount of premium amortization allocable to the payment(s) or (2) a gross amount for both the
interest paid to you and the premium amortization allocable to the payment(s) If you did notify your payer that
you did not want to amortize the premium on a taxable covered security then your payer will only report the
gross amount of interest paid to you For a noncovered security acquired ata premium your payer ts only
required to report the gross amount of interest paid to you

Recipient s taxpayer identification number (TIN) For your protection this form may show only the fast four
digits of your TIN (socral security number (SSN) individual taxpayer identification number (ITIN) adoption
taxpayer identification number (ATIN) or employer tdentification number (EIN)) However the issuer has
reported your complete TIN to the IRS

FATCA filing requirement If the FATCA filing requirement box is checked the payer is reporting on thts Form
1099 to satisfy its chapter 4 account reporting requirement You also may have a filing requirement See the
Instructions for Form 8938

Account number May show an account or other unique number the payer assigned to distinguish your
account

Box 1 Shows taxabie interest paid to you during the calendar year by the payer This does not include interest
shown in box 3 May also show the total amount of the credits from clean renewable energy bonds new clean
renewable energy bonds qualified energy conservation bonds qualified zone academy bonds qualified school
construction bonds and build America bonds that must be included in your interest income These amounts were
treated as paid to you during the calendar year on the credit allowance dates (March 15 June 15 September 15
and December 15) For more information see Form 8912 See the instructions above for a taxable covered
secunty acquired ata premium

Box 3 Shows interest on US Savings Bonds Treasury bills Treasury bonds and Treasury notes This may or
may not all be taxable See Pub 550 This interest is exempt from state and local income taxes This interest Is
not included in box 1 See the instructions above for a taxable covered security acquired at a premium

Box 4 Shows backup withholding Generally a payer must backup withhold if you did not furnish your TIN or you
did not furnish the correct TIN to the payer See Form W 9 [Include this amount on your income tax return as tax
withheld

Box 5 Any amount shown is your share of investment expenses of a single-class REMIC This amount is
included in box 1 Note This amount is not deductible

Box 6 Shows foreign tax paid You may be able to clatm this tax as a deduction or a credit on your Form 1040 or
1040 SR See your tax return instructions

Box 7 Shows the country or US possession to which the foreign tax was paid

Box 8 Shows tax exempt interest paid to you during the calendar year by the payer See how to report this
amount in the Instructions for Form 1040 This amount may be subject to backup withholding See Box 4 above
See the instructions above for a tax-exempt covered security acquired at a premium

Box 9 Shows tax-exempt interest subject to the alternative minimum tax This amount ts included tn box 8 See
the Instructions for Form 6251 See the instructions above for a tax exempt covered security acquired at a
premium

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Box 10 For a taxable or tax-exempt covered security if you made an election under section 1278(b) fo include
market discount in income as It accrues and you notified your payer of the election in writing in accordance with
Regulations section 1 6045 1(n)(5) shows the market discount that accrued on the debt instrument during the
year while held by you unless it was reported on Form 1099-OID For a taxable or tax exempt covered security
acquired on or after January 1 2015 accrued market discount will be calculated on a constant yield basis unless
you notified your payer in wnting in accordance with Regulations section 1 6045 1(n)(5) that you did not want ta
make a constant yield election for market discount under section 1276(b) Report the accrued market discount on
your Income tax return as directed in the Instructions for Form 1040 Market discount on a tax exempt security 1s
includible in taxable income as interest income

Box 11 For a taxable covered security (other than a U S Treasury obligation) shows the amount of premium
amortization allocable to the interest payment(s) unless you notrfied the payer in writing in accordance with
Regulations section 1 6045 1(n)(5) that you did not want to amortize bond premium under section 171 [fan
amount ts reported in this box see the Instructons for Schedule B (Form 1040) to determine the net amount of
interest includible in income on Form 1040 or 1040 SR with respect to the secunty If an amount is not reported in
this box for a taxable covered security acquired at a premium and the payer Is reporting premium amortization
the payer has reported a net amount of interest in box 1 if the amount in box 11 ts greater than the amount of
interest paid on the covered secunty see Regulations section 1 171 2(a)(4)

Box 12 Fora US Treasury obligation that is a covered security shows the amount of premium amortization
allocable to the interest payment(s) unless you notified the payer in writing in accordance with Regulations
section 1 6045 1(n}(5) that you did not want to amortize bond premium under section 171 If an amount is
reported in this box see the Instructions for Schedule B (Form 104Q) to determine the net amount of interest
includible in income on Form 1040 or 1040 SR with respect to the US Treasury obligation If an amount ts not
reported in this box fora US Treasury obligation that is a covered security acquired at a premium and the payer
Is reporting premium amortization the payer has reported a net amount of interest in box 3 If the amount in box
12 1s greater than the amount of interest paid on the US Treasury obligation see Regulations section

1171 2(a)(4)

Box 13 For a tax exempt covered security shows the amount of premium amortization allocable to the interest
payment(s) If an amount is reported in this box see Pub 550 to determine the net amount of tax exempt interest
reportable on Form 1040 or 1040 SR !f an amount ts not reported in this box for a tax exempt covered security
acquired at a premium the payer has reported a net amount of interest in box 8 or 9 whichever ts applicable [f
the amount in box 13 is greater than the amount of interest pard on the tax exempt covered secunty the excess
1s a nondeductible loss See Regulations section 1 171 2(a)(4)(u)

Box 14 Shows CUSIP number(s) for tax exempt bond(s) on which tax exempt interest was paid or tax credit
bond(s) on which taxable interest was paid or tax credit was allowed to you during the calendar year If blank no
CUSIP number was issued for the bond(s)

Boxes 15 17 State tax withheld reporting boxes

Nominees If this form includes amounts belonging to another person(s) you are considered a nominee recipient
Complete a Form 1099 INT for each of the other owners showing the income allocable to each File Copy A of the
form with the IRS Furnish Copy B to each owner List yourself as the payer and the other owner(s) as the
recipient File Form(s) 1099 iNT with Form 1096 with the Internal Revenue Service Center for your area On
Form 1096 list yourself as the filer A spouse is not required to file a nominee return to show amounts owned by
the other spouse

Future developments For the latest information about developments related to Form 1099 INT and its
instructions such as legislation enacted after they were published go towww irs gov/Form1099INT

Free File Program Go to www irs gov/FreeFile to see if you qualify for no-cost online federal tax preparation
e filmg and direct deposit or payment options Page 4 of 16
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Schwab One® Account of Account Number TAX YEAR 2023
MAUREEN STAPLETON KERSMARKI 5268-0102 FORM 1089 COMPOSITE

Date Prepared January 26, 2024

Recipient's Name and Address Payer's Name and Address
MAUREEN STAPLETON KERSMARKI CHARLES SCHWAB & CO_ INC

102 E YALE ST 3000 SCHWAB WAY

ORLANDO FL 32804 WESTLAKE TX 76262

Taxpayer ID Number ***-**-4430 Account Number 5268-0102 Telephone Number (800) 435-4000

Federal ID Number XX-XXXXXXX

Proceeds from Broker Transactions — 2023 Form 1099-8
Department of the Treasury-Internal Revenue Service Copy B for Recipient (OMB No 1545-0715)

SHORT-TERM TRANSACTIONS FOR WHICH BASIS IS REPORTED TO THE IRS - Report on Form 8949 Part |, with Box A checked

1b-Date

acquired 1d-Proceeds 1f-Accrued
1a-Description of property 14c-Date 6-Reported to IRS Market Discount
(Example 100 sh. XYZ Co ) “x sold or {except where 1e-Cost or 1g-Wash Sale Realized _—4 Federal Income
CUSIP Number / Symbol disposed indicated) other basis Loss Disallowed Gain or (Loss) tax withheld
3,960 META MATLS INC REVERSE SPS — VARIOUS $ 61362 $ 997 58 - §$ (383 96) $ 0 00
59134N104 / MMAT 10/20/23
Security Subtotal $ 61362 §$ 997 58 - § (383 96) $ 0 00
Total Short-Term (Cost basis is reported to the IRS) $ 61362 §$ 997 58 - §$ (383 96) $ 0 00
Total Short-Term Sales Price of Stocks, Bonds, etc $ 61362 $ 997 58 - § (383 96) $ 000

FATCA Filing Requirement LC]
Please see the Notes for Your Form 1099-B section for additional explanation of this Form 1099 B report

This 1s important tax information and is being furnished to the Internal Revenue Service If you are required to file a return, a negligence penalty or other sanction may be imposed
on you if this Income is taxable and the IRS determines that it has not been reported

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Schwab One® Account of
MAUREEN STAPLETON KERSMARKI

Bay

INSTRUCTIONS FOR RECIPIENTS OF FORM 1099
10S99-B Proceeds from Broker Transactions

Account Number

5268-0102

TAX YEAR 2023
FORM 1099 COMPOSITE

Brokers and barter exchanges must report proceeds from (and in some cases basis for) transactions to you
and the IRS on Form 1099 B Reporting 1s also required when your broker knows or has reason to know that a
corporation in which you own stock has had a reportable change in control or capital structure You may be
tequired to recognize gain from the receipt of cash stock or other property that was exchanged for the
corporations stock If your broker reported this type of transaction to you the corporation Is identified in box ia

Reciprent s taxpayer identification number (TIN) For your protection this form may show only the last four
digits of your TIN (social security number (SSN) individual taxpayer identification number (ITIN) adoption
taxpayer identification number (ATIN) or employer identification number (EIN)) However the issuer has
reported your complete TIN to the IRS

Account number May show an account or other unique number the payer assigned to distinguish your
account

CUSIP number Shows the CUSIP (Committee on Uniform Security Identification Procedures) number or other
applicable identifying number

FATCA filing requirement If the FATCA filing requirement box is checked the payer is reporting on this Form
1099 to satisfy its account reporting requirement under chapter 4 of the Internal Revenue code You may also
have a filing requirement See the Instructions for Form 8938

Applicable checkbox on Form 8949 Indicates where to report this transaction on Form 8949 and Schedule
D (Form 1040) and which checkbox ts applicable See the instructions for your Schedule D (Form 1040) and/or
Form 8949

Box 1a Shows a brief description of the ttem or service for which amounts are being reported Fora
corporation that had a reportable change in control or capital structure this box may show the class of stock
as C (common) P (preferred) or O (other)

Box 1b This box may be blank if box 5 1s checked or if the securities sold were acquired on a variety of dates
For short sales the date shown !s the date you acquired the security delivered to close the short sale

Box 1c Shows the trade date of the sale or exchange For short sales the date shown is the date the security
was delivered to close the short sale For aggregate reporting in boxes 8 through 11 no entry will be present

Box 1d Shows the cash proceeds reduced by any commissions or transfer taxes related to the sale for
transactions involving stocks debt commodities forward contracts non Section 1256 option contracts or
securities futures contracts May show the proceeds from the disposition of your interest(s) in a widely held
fixed investment trust May also show the aggregate amount of cash and the fair market value of any stock or
other property received in a reportable change tn control or capital structure artsing from the corporate transfer
of property to a foreign corporation Losses on forward contracts or non Section 1256 option contracts are
shown in parentheses This box does not include proceeds from regulated futures contracts or Section 1256
option contracts Report this amount on Form 8949 or on Schedule D (Form 1040) (whichever is applicable) as
explained in the Instructions for Schedule D (Form 1040)

Box 1e Shows the cost or other basis of securities sold {f the securities were acquired through the exercise of
a noncompensatory option granted or acquired on or after January 1 2014 the basis has been adjusted to
reflect your option premium If the securities were acquired through the exercise of a noncompensatory option
granted or acquired before January 1 2014 your broker ts permitted but not required to adjust the basis to

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reflect your option premium If the securities were acquired through the exercise of a compensatory option the
basis has not been adjusted to include any amount related to the option that was reported to you on a Form W 2
If box 5 1s checked box 1e may be blank See the Instructions for Form 8949 Instructions for Schedule D (Form
1040) or Pub 550 for details

Box 1f Shows the amount of accrued market discount For details on market discount see the Schedule D
(Form 1040) instructions the Instructons for Form 8949 and Pub 550 If box 5 1s checked box 1f may be blank

Box 1g Shows the amount of nondeductible loss in a wash sale transaction For details on wash sales see the
Schedule D (Form 1040) instructions the Instructions for Form 8949 and Pub 550 lf box 51s checked box ig
may be blank

Box 2 The short term and long term boxes pertain to short-term gain or loss and long term gain or loss If the
Ordinary box ts checked your security may be subject to spectal rules For example gain on a contingent
payment debt instrument subyect to the noncontingent bond method ts generally treated as ordinary interest
income rather than as capital gain See the Instructions for Form 8849 Pub 550 or Pub 1212 for more details
on whether there are any special rules or adjustments that might apply to your security If box 5 1s checked box
2 may be blank

Box 3 If checked proceeds are from a transaction involving collectibles or from a Qualified Opportunity
Fund(QOF)

Box 4 Shows backup withholding Generally a payer must backup withhold if you did not furnish your TIN to the
payer See Form W 9 for information on backup withholding Include this amount on your income tax return as
tax withheld

Box 5 If checked the securities sold were noncovered securities and boxes 1b 1e 1f 1g and 2 may be blank
Generally a noncovered secunty means (a) stock purchased before 2011 (b) stock in most mutual funds
purchased before 2012 (c) stock purchased in or transferred to a dividend reinvestment plan before 2012 (d)
debt acquired before 2014 (e) options granted or acquired before 2014 and (f)securities futures contracts
executed before 2014

Box 6 If the exercise of a noncompensatory option resulted in a sale of a security a checked net proceeds box
indicates whether the amount in box 1d was adjusted for option premium

Box 7 If checked you cannot take a loss on your tax return based on gross proceeds from a reportable change
in contro! or capital structure reported in box td See the Form 8949 and Schedule D (Form 1040) instructions
The broker should advise you of any losses on a separate statement

Box 12 If checked the basis in box te has been reported to the IRS and ether the short term or the long term
gain or loss box in box 2 will be checked If box 12 is checked on Form(s) 1099 B and NO adjustment is
required see the instructions for your Schedule D (Form 1040) as you may be able to report your transaction
directly on Schedule D (Form 1040) Ifthe Ordinary box in box 2 Is checked an adjustment may be required

Boxes 14 16 Show state(s)/local income tax information

Future developments For the latest information about any developments related to Form 1099 B and its
instructions such as legislation enacted after they were published go towww irs gov/Form1099B

Free File Program Go to www irs gov/FieeFile to see if you qualify for no-cost online federal tax preparation
€ filing and direct deposit or payment options

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Schwab One® Account of Account Number TAX YEAR 2023
; c MAUREEN STAPLETON KERSMARKI 5268-0102
ase a FORM 1099 COMPOSITE
bey ANA,
Taxpayer ID Number: ***-**-4430 Date Prepared: January 26, 2024
Proceeds from Broker Transactions — 2023 (continued) Form 1099-B
Department of the Treasury-Internal Revenue Service Copy B for Recipient (OMB No. 1545-0715)

LONG-TERM TRANSACTIONS FOR WHICH BASIS IS REPORTED TO THE IRS - Report on Form 8949, Part ||, with Box D checked.

1b-Date
acquired 1d-Proceeds 1f-Accrued
ja-Description of property 1c-Date ceca to a Market Discount
(Example 100 sh. XYZ Co.) os _sold or lescenitthere 1e-Cost or 1g-Wash Sale Realized 4-Federal Income
CUSIP Number / Symbol disposed indicated) other basis Loss Disallowed __Gain or (Loss) tax withheld
5,040 META MATLS INC REVERSE SPS _ VARIOUS $ 780.96 $ 5,830.94 §$ - $ (4,112.36) $ 0.00
59134N104 / MMAT 10/20/23 — 937.62
Security Subtotal a $ 780.96 $ 5,830.94 = -~ § (4,112.36)$ 0.00
$ 937.62
Total Long-Term (Cost basis is reported to the IRS) $ 780.96 $ 5,830.94 - §$ (4,112.36) $ 0.00
$ 937.62
Total Long-Term Sales Price of Stocks, Bonds, etc. $ 780.96 $ 5,830.94 - §$ (4,112.36) $ 0.00
$ 937.62
Total Sales Price of Stocks, Bonds, etc. $ 1,394.58
Total Federal Income Tax Withheld $ 0.00

FATCA Filing Requirement |_|
Please see the “Notes for Your Form 1099-B" section for additional explanation of this Form 1099-B report.

This is important tax information and is being furnished to the Internal Revenue Service. If you are required to file a return, a negligence penalty or other sanction may be imposed
on you if this income is taxable and the IRS determines that it has not been reported.

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Schwab One® Account of Account Number TAX YEAR 2023
MAUREEN STAPLETON KERSMARKI 5268-0102 FORM 1099 COMPOSITE

Date Prepared January 26, 2024
Notes for Your Form 1099-B

Box 1b-Dateacquired [f there is more than one lot in a sell transaction the acquisition date for the individual lot in the transaction can be found in the Realized
Gain or (Loss) section of the Year End Summary
(1) If Box 1b Date acquired displays as VARIOUS your sell transaction included multiple tax lots purchased on different acquisition dates within
the same holding period and covered/non covered status The lots in the transaction are rolled up into a single sell transaction
(2) If the cost basis is missing or not provided a short-term holding period may have been applied for a position that may have been held long term

Box 1d-Proceeds/Box 6-Reported to IRS Gross proceeds (except where indicated)
(1) Gross proceeds from each of your security transactions are reported individually to the IRS
(2) Gross proceeds in aggregate are not reported to the IRS and should not be reported on your tax return
(3) Net proceeds will only be displayed if the proceeds on a trade have been adjusted for an option premmum

Box 1e Cost or other basis Schwab has provided cost basis information whenever possible for most investments Cost basis data may be incomplete or

unavailable for some of your holdings When value for the report is unavailable tt 1s noted as follows °
Not Schwab ts not providing Cost Basis on this secunty type
Provided
Missing (1) Cost Basis data may not be available for a number of reasons (for example the securty was purchased outside of Schwab and we did not
receive cost basis from the transferring firm) ,

(2) The security was purchased more than 10 years ago

Realized Gain or (Loss) Realized Gain or (Loss) is not reported to the IRS

Box 2 Short-term gain or loss, Long-term gain or loss, or Ordinary Only if you have both long-term and short term transactions will you receive both long-term and short-term sections of the
1099-B

Long term gain or loss has a holding period greater than one year
Short-term gain or loss has a holding period of one year or less
Other Cost Basis Notes
(1) The cost basis and basis adjustments for covered securities are reported to the IRS
(2) lf BASIS IS REPORTED TO THE IRS appears in the section heading this indicates Box 12 If checked basis reported to IRS is checked If BASIS IS AVAILABLE BUT NOT REPORTED

or BASIS IS MISSING AND NOT REPORTED appears this indicates Box 5 If checked, noncovered security is checked These boxes are not displayed on the 1099 B but the boxes are
reported to the IRS and included in the download for TurboTax and H&R Block
(3) For non-covered secunties appearing in sections of the 1099-B which include the headings 'BASIS IS AVAILABLE BUT NOT REPORTED TO THE IRS or

BASIS IS MISSING AND NOT REPORTED TO THE IRS_ Box 1b-Date acquired, te Cost or other basis, 1f-Accrued Market Discount and 1g Wash Sale Loss
Disallowed are not reported to the IRS

“Activity Codes (Not reported to the IRS)

CC = Cashin Lieu E = Exchange P
CV = Conversion M = Cash Merger MT

Sale T
Redemption ss

Principal
Maturity

uo

Tender BC =BuytoClose X = Expiration
Short Sale SC =Sell to Close

an

This is important tax information and ts being furnished to the Internal Revenue Service If you are required to file a return, a negitgence penalty or other sanction may be imposed
on you tf this income ts taxable and the IRS determines that it has not been reported

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Schwab One® Account of Account Number TAX YEAR 2023
UREEN STAPLETON KERSMARKI 5268-0102
MA TON YEAR-END SUMMARY
YEAR-END SUMMARY INFORMATION IS NOT PROVIDED TO THE IRS Date Prepared January 26 2024

The information tn this and all subsequent sections Is not provided to the IRS by Charles Schwab _{t is provided to you as additional tax reporting information you may need to complete your tax return

INTEREST & DIVIDENDS
The information in the following sections may be helpful for but not limited to Schedule B Please consult with your tax advisor or financial advisor regarding specific
questions

Detail Information of Interest Income

CUSIP Paid/Adjusted in
Description Number Paid in 2023 2024 for 2023 Amount
Interest Income
SCHWAB 1 INTEREST $ 096 $ 0.00 $ 0 96
Total Interest Income (Included in Box 1) $ 096 §$ 000 $ 0 96
Total Interest Income (Box 1) $ 096 $ 0 00 $ 0 96
REALIZED GAIN OR (LOSS)
The information in the following sections include all your realized gain or (loss) transactions during the tax year They may be helpful for but not limited to Schedule D
Please consult with your tax advisor or financial advisor regarding specific questions
Short-Term Realized Gain or (Loss)
This section is for covered secunties and corresponds to transactions reported on your 1099-B as__ cost basis is reported to the IRS_~— Report on Form 8949 Part | with Box A checked
Description OR CUSIP Date Date (+)Wash Sale (=)Realized
Option Symbol Number Quantity/Par Acquired Sold Total Proceeds {(-)Cost Basis Loss Disallowed Gain or (Loss)
META MATLS INC REVERSE 59134N104 160 00 10/21/22 10/20/23 $ 24 79$ 143 34 - $ (118 55)

SPLIT

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Schwab One® Account of Account Number TAX YEAR 2023
MAUREEN STAPLETON KERSMARKI 5268-0102 YEAR-END SUMMARY

YEAR-END SUMMARY INFORMATION IS NOT PROVIDED TO THE IRS Date Prepared January 26, 2024

The information tn this and all subsequent sections ts not provided to the IRS by Charles Schwab _ It is provided to you as additional tax reporting information you may need to complete your tax return

Short-Term Realized Gain or (Loss) (continued)

This section 1s for covered securities and corresponds to transactions reported on your 1089 B as ‘cost basis is reported to the IRS Report on Form 8949 Part! with Box A checked

Description OR CUSIP Date Date (+)Wash Sale (=)Realized
Option Symbol Number Quantity/Par Acquired Sold Total Proceeds (-)Cost Basis Loss Disallowed Gain or (Loss)
META MATLS ING REVERSE 59134N104 3800 00 10/02/23 10/20/23 $ 588 83$ 854 24 ~ §$ (265 41)
SPLIT

Security Subtotal $ 613 62$ 997 58 - $ (383 96)
Total Short-Term (Cost basis 1s reported to the IRS) $ 613 62$ 997 58 - $ (383 96)
Total Short-Term $ 613 62$ 997 58 - §$ (383 96)

Long-Term Realized Gain or (Loss)

This section ts for covered securities and corresponds to transactions reported on your 1099 Bas cost basis is reported to the IRS_~=— Report on Form 8949 Part I! with Box D checked

Description OR CUSIP Date Date (+)Wash Sale (=)Realized
Option Symbol Number Quantity/Par Acquired Sold Total Proceeds (-)Cost Basis Loss Disallowed Gain or (Loss)
META MATLS ING REVERSE 59134N104 100000 05/12/22 10/20/23 $ 154 95$ 171765 $ 937 62 $ (625 08)
SPLIT
META MATLS INC REVERSE 59134N104 5000 05/17/22 10/20/23 $ 775$ 80 50 - §$ (72 75)
SPLIT
META MATLS INC REVERSE 59134N104 990 00 = 10/12/22 10/20/23 $ 153 40$ 1 039 50 - §$ (886 10)
SPLIT
META MATLS INC REVERSE 59134N104 100000 10/12/22 10/20/23 $ 154 95$ 1 065 70 - § (910 75)
SPLIT
META MATLS INC REVERSE 59134N104 4600 10/17/22 10/20/23 $ 713$ 44 12 - §$ (36 99)
SPLIT

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Schwab One® Account of Account Number TAX YEAR 2023
MAUREEN STAPLETON KERSMARKI 5268-0102 YEAR-END SUMMARY

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YEAR-END SUMMARY INFORMATION IS NOT PROVIDED TO THE IRS. ean p alee Ban leave oes

The information in this and all subsequent sections is not provided to the IRS by Charles Schwab. It is provided to you as additional tax reporting information you may need to complete your tax return.

Long-Term Realized Gain or (Loss) (continued)

This section is for covered securities and corresponds to transactions reported on your 1099-B as_ “cost basis is reported to the IRS." Report on Form 8949, Part Il, with Box D checked.

Description OR cusIP Date Date (+)Wash Sale (=)Realized
Option Symbol Number Quantity/Par Acquired Sold Total Proceeds (-)Cost Basis Loss Disallowed Gain or (Loss)
META MATLS INC REVERSE 59134N104 954.00 10/17/22 10/20/23 $ 147.835 915.17 - § (767.34)
SPLIT

META MATLS ING REVERSE 59134N104 1,000.00 10/17/22 10/20/23 $ 154.95$ 968.30 - §$ (813.35)
SPLIT —— = ag Z
Security Subtotal $ 780.96 $ 5,830.94 $ 937.62 $ (4,112.36)
Total Long-Term (Cost basis is reported to the IRS) $ 780.96 $ 5,830.94 §$ 937.62 $ (4,112.36)
Total Long-Term $ 780.96 $ 5,830.94 $ 937.62 $ (4,112.36)

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Schwab One® Account of Account Number TAX YEAR 2023
: MAUREEN STAPLETON KERSMARKI 5268-0102
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YEAR-END SUMMARY INFORMATION IS NOT PROVIDED TO THE IRS. Date Prepared: January 26, 2024

The information in this and all subsequent sections is not provided to the IRS by Charies Schwab. It is provided to you as additional tax reporting information you may need to complete your tax return,

Realized Gain or (Loss) Summary

Total Realized Gain or (Loss)

(+)Wash Sale (=)Realized
Description Total Proceeds (-)Cost Basis Loss Disallowed Gain or (Loss)
Total Short-Term Realized Gain or (Loss) (Cost basis is reported to the [RS. Report on $ 613.62 $ 997.58 - §$ (383.96)
Form 8949, Part I, with Box A checked.)
Total Short-Term Realized Gain or (Loss) $ 613.62 §$ 997.58 - §$ (383.96)
Total Long-Term Realized Gain or (Loss) (Cost basis is reported to the IRS. Report on $ 780.96 $ 5,830.94 $ 937.62 $ (4,112.36)
Form 8949, Part Il, with Box D checked.)
Total Long-Term Realized Gain or (Loss) $ 780.96 $ 5,830.94 $ 937.62 $ (4,112.36)
TOTAL REALIZED GAIN OR (LOSS) $ 1,394.58 $ 6,828.52 $ 937.62 $ (4,496.32)

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Schwab One® Account of Account Number TAX YEAR 2023
MAUREEN STAPLETON KERSMARKI 5268-0102
YEAR-END SUNIMARY
YEAR-END SUMMARY INFORMATION IS NOT PROVIDED TO THE IRS Date Prepared January 26, 2024

The information in this and all subsequent sections is not provided to the IRS by Charles Schwab _ It ts provided to you as additional tax reporting information you may need to complete your tax return

Notes for Your Realized Gain or (Loss)

Schwab has provided realized gain and loss information whenever possible for most investments Cost basis data may be incomplete or unavailable for some of
your holdings See Terms and Conditions

When value for the report ts unavailable itis noted as follows "Missing" or “Not Provided"

Not Schwab is not providing Cost Basis on this security type
Provided

Missing Cost Basis may be missing due to one of the following reasons
¢ Cost basis data may not be available for a number of reasons (for example the security was purchased outside of Schwab and we did not
receive cost basis from the transferring firm)
e The security was purchased more than 10 years ago

Date if the cost basis is missing or not provided, a short-term holding period may have been applied for a position that may have been held long term
Acquired

Total The amount displayed in this column has been adjusted for option premiums if applicable
Proceeds

Cost Basis The amount displayed in this column may differ from your original cost basis as adjustments may have been made to reflect applicable
option premiums corporate actions and/or wash sales

Wash Sale The disallowed amount displayed in this column has been added to the cost basis of other share lots with the same CUSIP owned tn the
Loss same account at the time the loss was disallowed
Disallowed
Realized = The calculation for gain or (loss) displayed in this column 1s Total Proceeds - Cost Basis + Wash Sale Loss Disallowed - Market Discount
Gain or =Realized Gain or (Loss)
(Loss)

For sales of short-term debt issued after January 1, 2014 talk to your tax advisor as to how to report the income

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Schwab One® Account of
MAUREEN STAPLETON KERSMARKI

COST BASIS DISCLOSURE

Changes to Cost Basis Reporting Requirements

Starting with the 2011 tax year Charles Schwab & Co began reporting adjusted cost basis to you
and the IRS on your Form 1099-B for covered securities in your taxable brokerage accounts that
you sell and are covered by the Emergency Stabilization Act regulations

In the event of transfers of securities we are also required to report adjusted cost basis information
to other custodians for covered securities transferred to them

Schwab will treat securities as covered when they are acquired on or after the following
effective dates
January 1 2011 for stocks and other equities
January 1 2012 for mutual funds ETFs and Dividend Reinvestment Plan ( DRIP ) shares
January 1 2014 for less complex fixed income and options rights and warrants
January 1 2016 for more complex fixed income

Because these new reporting requirements could impact the cost basis used to compute your
taxable gains and losses its tmportant to understand when and how they will apply to you The
information in this document ts intended as informational only and ts not individualized tax advice
Schwab does not provide tax advice and encourages you to consult with your tax professional to
understand how the new reporting requirements will affect you and your tax situation

What Does This Mean for You

1 When you sell covered secunties as described above Schwab will be required to report details
about your cost basis to you and the IRS on Form 1099 B You will continue to be responsible
for reporting all cost basis information for both covered and uncovered securities to the IRS on
your tax returns

Unless you ve indicated otherwise Schwab will calculate your gains and losses using the IRS
default cost basis method of Average Cost for mutual funds and FIFO (First in First Out) for all
other securities It 1s your responsibility to choose the cost basis method appropriate to your tax
situation See Cost Basis Methods for the methods offered by Schwab

When you sell a security the cost basis method used to calculate your gain or loss cannot be
changed aiter your trade settles So its important to consider the tax implications at the time of
trade

What ts Cost Basis?

Cost basis 1s the original purchase pnce you paid for a security plus commissions and any fees
Adjusted cost basis includes any other adjustments to the price Adjusted cost basis also includes
any adjustments due to wash sales amortization accretion and corporate actions

Your realized gain/loss on a security is determined by subtracting the adjusted cost basis from the
sale proceeds in an account less commissions and fees

For covered securities that were not both purchased and sold at Schwab Schwab calculates cost
basis using data that you have provided to us or that we have obtained from third party sources

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Account Number

5268-0102

TAX YEAR 2023
FORM 1099 COMPOSITE
& YEAR-END SUMMARY

Date Prepared January 26 2024

such as your prior custodian or another third-party source Because the accuracy of cost basis data
depends upon these third-party inputs we are not able to guarantee the availability accuracy or
completeness of such cost basis data on transactions that did not occur at Schwab If we are not
provided with adequate information to report cost basis data for covered secunties that were not both
purchased and sold at Schwab those securities will be considered uncovered and the cost basis will
not be reported to the IRS even if acquired after the effective date

Cost Basis Methods

It is your responsibility to choose the cost basis method appropriate for your tax situation Failure to
select the proper cost basis method may cause you to pay more tax than necessary Schwab does
not provide tax advice and encourages you to consult with your tax professional regarding this
decision

To view and change your default cost basis method on your brokerage account go to the Service
tab on schwab com then the Cost Basis Method page in Account Settings You can also make a
change by calling 800-435-4000 If your account 1s managed by an investment advisor please call
your advisor to make a change

Default Cost Basis Methods

We apply the IRS default method of Average Cost for your mutual funds and the default method of

FIFO (First in First Out) to all other securities unless you inform us of a preferred method

FIFO Shares you acquired first are sold first

Average Cost Cost 1s denved by dividing the total dollar amount invested in a particular
fund position by the number of shares held prior to the trade date Shares
are removed in FIFO order

Cost Basis Methods Offered by Schwab

You may select a different cost basis method for your brokerage account other than the default
methods described above The following cost basis methods are offered by Schwab

FIFO (First In, First Out)
LIFO (Last In, First Out)
HCOST (High Cost)
LCOST (Low Cost)
Average Cost

(mutual funds only)

Shares you acquired first are sold first

Shares you acquired last are sold first

Shares with the highest cost are sold first

Shares with lowest cost are sold first

Cost ts derived by dividing the total dollar amount tnvested in a
particular fund position by the number of shares held prior to the
trade date Shares are removed in FIFO order

The IRS allows taxpayers to identify specific lots to be sold Such
identification must be made with the broker at the time of trade and
no later than close of business on the day the trade settles

Specific Identification

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COST BASIS DISCLOSURE (continued)
Tax Lot Optimizer™ Lots are selected and sold with the objective of taking losses first (short-term
then long-term) and gains last (long-term then short-term) Lots are sold tn this order

Lots that reflect a short term loss are sold first beginning with lots that
generate the greatest short term loss down to the least short term loss

Short Term Losses

Lots that reflect a long term loss are sold beginning with lots that
generate the greatest long term loss down to the least long term loss

Long Term Losses

Short Term No Gains

or Losses Short term lots that reflect no gain or loss

Long Term No Gains

or Losses Long term lots that reflect no gain or loss

Lots that reflect a [ong term gain beginning with lots that generate the
least long term gain up to the greatest long term gain

Long Term Gains

Short Term Gains Lots that reflect a short term gain beginning with lots that generate the

least short term gain up to the greatest short term gain

The cost basis method used to determine the gain/loss of a trade cannot be changed after the trade
settles If Schwab does not receive a specific instruction by the end of settlement date we will use
the current cost basis method you have selected for your account or the default cost basis method
if you have made no alternate selection to calculate the gain/loss that is reported to you and the [RS
at the end of year

The Internal Revenue Service does not recognize LIFO HCOST LCOST and Tax Lot Optimizer
as accounting methods but it does recognize standing instructions to sell lots as adequate
identification for reporting gains/losses

Cost Basis Adjustments
Cost basis 1s generally based on your purchase price plus commissions and any fees however the
original cost basis may be subject to adjustments that increase or decrease your basis

Schwab will adjust the cost basis of secunties in your brokerage account In the following
circumstances

Wash Sales: If you sell shares at a loss and buy additional shares in the same secunty 30 days
before or after that date (61-day range) you may not claim the loss on your tax return until you sell
the new shares If a wash sale occurs the loss is disallowed for federal income tax purposes but
may be added to the cost basis of the purchased shares Schwab will adjust the cost basis and
holding period of shares when a wash sale occurs within an account as a result of a purchase of
an identical security with the same CUSIP Schwab will not take into account the impact of options
purchases or sales in determining disallowed losses on sales of the underlying securities Its
important to note that the wash reporting requirements for you as a taxpayer are different and
broader than the reporting requirements for Schwab For more details on your wash sale reporting
requirements please see IRS publication 550 or speak with your tax professional

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Account Number

5268-0102

TAX YEAR 2023
FORM 1099 COMPOSITE
& YEAR-END SUMMARY

Date Prepared January 26, 2024

Corporate Actions In some instances corporate actions can affect cost basis of your securities
Regulations require issuers to provide statements describing the effects of a corporate action on
the cost basis of a secunty Schwab will adjust cost basis for corporate actions based on the
information provided in the issuer statement

Return of Capital Payments Cost basis will be reduced for any return of capital (principal)
distnbutions

Option Adjustments Schwab will adjust the cost basis or realized gain/loss (proceeds) of the
underlying security for option assignments and exercises (by factoring the premium paid or
received)

Inheritance Schwab will adjust the cost basis of securities that have been inherited based on the
fair market value on the date of death unless alternate instructions are received from an authorized
representative of the estate

Gifts Shares will be gifted based on your default cost basis method unless otherwise specified
with a given purchase date and cost prior to the gift transfer Schwab will track the fair market
value and gift date in addition to the donors adjusted cast basis and will apply IRS gift rules at the
time of sale to determine gain or loss

You will still be required to track and make adjustments to your securities as it is possible that you
could have other situations that require cost basis adjustments that Schwab Is not required to
report

Restricted Stock Awards If you filed an election pursuant to IRC Section 83(b) on a Restricted
Stock Award issued by your employer a different cost basis may apply to shares vested from that
award than the cost basis reported on this statement Please consult with your personal tax advisor
to understand the tax implications

Acquisition date If cost basis is missing or not provided a short term holding period may have
applied for position that may have been held long term

Please Note This information ts not intended to be a substitute for specific individualized tax
legal or investment planning advice Where specific advice is necessary or appropriate
Schwab recommends consulting with a qualified tax advisor CPA financial planner or
investment manager Except as noted in the Terms and Conditions your Investment Advisors
are not affilated with or supervised by Schwab

Foreign Investors should note that the information provided ts from aU S tax perspective
The information provided may or may not have relevance in other jurisdictions

Contact Us

If you have any questions or need more information about the cost basis methods or terminology
in this Disclosure Statement please call us at 1-800-435 4000 If your account is managed by an
investment advisor please call Schwab Alliance at 1-800-515-2157

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Schwab One® Account of
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TERMS AND CONDITIONS
GENERAL INFORMATION

Form 1099 Composite

For US taxpayers the information reported to you on Form 1099 !s given to the Internal Revenue
Service (IRS) Form 1099-Composite is comprised of the following substitute forms 1099-DIV
1099-INT 1099 MISC 1099-OID and 1099 B The form(s) you receive in Form 1099 Composite
depends on the income reportable to the IRS

Year-End Summary

The information in the Year-End Summary ts provided to you as a courtesy should you need
additional information when completing your tax return When relevant IRS box numbers are
referenced to indicate individual items that make up the totals appearing on your Form(s) 1099 With
the exception of the totals reported in the IRS box numbers referenced Charles Schwab does not
provide the details of the Year-End Summary to the IRS

We recommend that all customers consult their investment and tax advisors prior to using this
information

Corrected Form 1099 and Year End Summary

We are required to send you a corrected form with the revisions clearly marked when we receive
updates or revisions to information contained in the form This generally occurs if one or more of the
issuers of the securities in your account reallocated certain income distribution (eg dividends or
capital gains) after we mailed your original Form 1089 As a result the supplemental information in
Year End Summary may be updated

Upon receiving a corrected form you may want to consider filing an amended retum based on the
changes in your taxable income as reported on your corrected Form 1099 We suggest that you
consult with a qualified tax advisor CPA financial planner or investment manager before you
proceed

Duplicate Form 1099 and Year End Summary

If you request a duplicate Form 1099 please be aware that Schwab uses the most up to date
information available at the time of the production Thus your duplicate Form 1099 and Year-End
Summary may have more up-to date information than the original Form 1099

Realized Gain or (Loss) in Year End Summary

The Realized Gain or (Loss) section provides information for all your realized gain or (loss)
transactions during the tax year It contains all transactions included in the Form 1099-B as well as
transactions that are not reported on Form 1099 B (for example sales and expirations of noncovered
option activities cash in leu under $20 bankruptcy and worthless secunttes) This supplemental
information is believed to be accurate as of the date the data was compiled but they may not be
updated for any corrections after the data was initially compiled

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Account Number TAX YEAR 2023
5268-0102 FORM 1099 COMPOSITE
& YEAR-END SUMMARY

Date Prepared January 26 2024

IN CASE OF QUESTIONS If you have questions about this report or about specific Schwab
accounts or Schwab One transactions (other than wire transfers or check transactions) contact
Schwab at 1 800-435-4000 If you have a complaint regarding your Schwab statement or our
products and services please write to the Client Advocacy Team at Charles Schwab & Co Inc
Attention Client Advocacy Team 211 Main St San Francisco CA 94105 Outside of the US call
+1-415 667-5009

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